SES ONS

Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 1 of 19

t

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

United States Courts

UNITED STATES DISTRICT COURT — Seer pitictof Texas
for the JUL 17 2018

Southern District of Texas

 

David J. Bradley, Clerk of Court
Galveston pivision |

Case No.

Aaron Striz (to be filled in by the Clerk's Office)
Plaintiffs)

(Write the full name of each plaintiff who is filing this complaint.

Ifthe names of all the plaintiffs cannot fit in the space above,

please write “see attached” in the space and attach an additional

page with the full list of names.)

-V-

(see attached)

Defendant(s)
(Write the full name of each defendant who is being sued. If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names. Do not include addresses here.)

Ne Ne mee ee Name eee ee ee eee eee ee”

COMPLAINT FOR VIOLATION OF CIVIL RIGHTS
(Prisoner Complaint)

 

NOTICE

Federal Rules of Civil Procedure 5.2 addresses the privacy and security concerns resulting from public access to
electronic court files. Under this rule, papers filed with the court should not contain: an individual’s full social
security number or full birth date; the full name of a person known to be a minor; or a complete financial account
number. A filing may include only: the last four digits of a social security number; the year of an individual’s
birth; a minor's initials; and the last four digits of a financial account number.

Except as noted in this form, plaintiff need not send exhibits, affidavits, grievance or witness statements, or any
other materials to the Clerk's Office with this complaint.

In order for your complaint to be filed, it must be accompanied by the filing fee or an application to proceed in
forma pauperis.

 

 

 

 

Page | of MIG

 
e # @ — @ * @ #8 «€
Neer eee esa aes ee

oO On DA OO BW DH FH

b
©

e

~~

bt
te
——

Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 2 of 19

DEFENDANTS

Brian Collier, Executive Director. TDCJ-CID
Michael J. Butcher. Senior Warden. Darrington Unit
Kurtis D. Pharr, Major, Darrington Unit
Lisa M. Davis, Unit Classification Casemanager, Darrington Unit
(FNU) Carter, (formerly) Senior Warden, Estelle Unit
(FNU) Brewer, (current) Senior Warden, Estelle Unit
Christopher S. Lacox, Assistant Warden, Estelle High Security
Cliff H. Prestwood, (formerly) Assistant Warden, Estelle H.S.
Bobby D. Rigsby, Major, Estelle High Security
Jody L. Vincent, Captain, Estelle High Security
Kody R. Schurr, Captain, Estelle High Security
(FNU) Betcher, (formerly?) Senior Warden, Robertson Unit
(FNU) Siringi, (formerly?) Assistant Warden, Robertson Unit
(Unknown Name), Chairman of State Classification, TDCJ-CID
D. Ray, State Classification Representative
V. Jones, State Classification Representative

K. Gibson, State Classification Representative

64 a of 14

 
Case 3:18-cv-00202 Document 1 Filed on 07/17/18 in TXSD Page 3 of 19

>

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)
I. The Parties to This Complaint

A. _ The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if
needed.

Name Aaron Brice Striz

All other names by which

you have been known: m/a
ID Number Gone 838215
Current Institution John C. Darrington Unit, TDCJ-CID
Address 59 Darrington Rd.
Rosharon Texas 77583
City State Zip Code

B. The Defendant(s)

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. Make sure that the defendant(s)
listed below are identical to those contained in the above caption. For an individual defendant, include
the person’s job or title (i/known) and check whether you are bringing this complaint against them in their
individual capacity or official capacity, or both. Attach additional pages if needed.

Defendant No. 1
Name Brian Collier
Job or Title (if known) Executive Director, TDCJ-CID
Shield Number n/a
Employer Texas Department of Criminal Justice
Address ?

City State Zip Code
QO} Individual capacity KA Official capacity

Defendant No. 2

Name Michael Butcher

Job or Title if known) Senior Warden, Darrington Unit

Shield Number n/a

Employer Texas Dept. of Criminal Justice

Address 59 Darrington Rd. |
Rosharon Texas 77583

City State Zip Code
aK Individual capacity ¥ Official capacity

Page gosteteF

3 of 14

 

 
 

Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 4 of 19

Pasties to This Complaint, DEFENDANTS (continued)

 

Defendant No. 3
Name

Job or Title
Emp loyer
Address

Defendant No. 4
Name

Job or Title
Employer
Adjress

Defendant No. 5
Name

Job or Title

Emp loyer

Address (last known)

Defendant No. 6
Name
Job or Title

Enployer
Address

Defendant No. 7
Name
Job or Title

Employer
Address

Kurtis D. Pharr

Major, Ad-Seg, Darrington Unit
Texas Dept. of Criminal Justice-CID
59 Darrington Rd.

77583

In His Individual and Official Capacities

Rosharon Texas

Lisa M. Davis
Unit Classification Casemanager, Darrington Unit
TDCJ~-ID

59 Darrington Rd.
Rosharon Texas 77583
In Her Individual and Official Capacities

(FNU) Carter

(formerly) Senior Warden, Estelle Unit
TDCJ~-ID

264 F.M. 3478

Texas 77320

In his Individual and Official Capacities

Huntsville

(FNU) Brewer

(currently) Senior Warden, Estelle Unit
TDCJ-ID

264 F.M. 3478
Huntsville 77320

In His Individual and Official Capacities

Texas

Christopher S. Lacox

Assistant Warden, Estelle High Security
TDCJ-ID

264 F.M. 3478
Huntsville 77320

In his Individual and Official Capacities

Texas

ag 4 oF 14

 
 

 

Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 5 of 19

Defendant No.8
Name

Job or Title
Employer
Address

Defendant No.9
Name

Job or Title
Employer
Address

Defendant No. 10
Name

Job or Title
Employer

Address

Defendant No. 1l
Name

Job or Title
Employer
Address

Defendant No. 12
Name

Job or Title
Employer

Address (last known)

Cliff H. Prestwood

(formerly) Assistant Warden, Estelle High Security
TDCJ-ID

264 F.M. 3478

Huntsville Texas 77320

In his Individual and Official Capacities

Bobby D. Rigsby

Major, Estelle High Security

TDCJ-ID

264 F.M. 3478
Huntsville 77320

In His Individual and Official Capacities

Texas

Jody L. Vincent

Captain, Estelle High Security
TDCJ-ID

264 F.M. 3478
Huntsville | 77320

In His Individual and Official Capacities

Texas

Kody R. Schurr

Captain, Estelle High Security
TDCJ-ID

264 F.M. 3478

77320

In His Individual and Official Capacities

Huntsville Texas

(FNU) Betcher

(Formerly) Senior Warden, Robertson Unit
TDCJ-ID

12071 F.M. 3522

Abilene 79601

In His Individual and Official Capacities

Texas

pg. 7 oF 19
 

Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 6 of 19

Defendant No.13
Name

Job or Title
Employer

Address (last known)

Defendant No. 14
Name

Job or Title
Employer

Address

Defendant No.15

Name ~
Job or Title
Employer

Address

Defendant No. 16
Name

Job or Title
Employer
Address

Defendant No. 17
Name

Job or Title
Employer
Address

(FNU) Siringi

(formerly) Assistant Warden, Robertson Unit
TDCI

12071 F.M. 3522

Abilene 79601

In His individual and Official Capacities

Texas

(Unknown Name)

Chairman of State Classification
TDCJ-ID

Office Address Unknown

In His/Her Individual and Official Capacities

D. (FNU) Ray

State Classification Representative
TDCI

Office Address Unknown

In Her Individual and Official Capacities

V. (FNU) Jones

State Classification Representative
TDCI

Office Address Unknown

In Her Individual and Official Capacities

K. Gibson

State Classification Representative

TDCI

Office Unknown

In Her Individual and Official Capacities

pq le of \4
 

 

II.

Iit.

IV.

Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 7 of 19

Basis for Jurisdiction
A. I am bringing this suit against State officials under §1983 for “the dep-
rivation of any rights, privileges, or immunities secured by the Constitution

and [fedéral laws]."

B. The federal Constitutional or statutory rights being violated by state off-
icials are;

1. Fifth Amendment right to Due Process,

2. Eigth Amendment prohibition against Cruel and Unusual Punishments, and

3. Fourteenth Amendment right to Equal Protection under the law.
Cc. N/A, (not a Bivens action)

D. "Explain how each defendant acted under color of state or local law..."

Defendant No.1, Brian Collier, is the Executive Director of TDCJ and is
responsible for all prisoners in TDCJ, as well as all actions taken within
TDCJ by TDCJ employees. who, as his desiqnees, execute the policies which
have resulted in the continuous, indefinite confinement to administrative
segregation of plaintiff Striz for nearly 17 years, for which ALL named
officials acknowledge that there is no valid reason for this confinement,
and which serves no justifiable penological interest.

All remaining defendants, Numbers 2-17, over a period of ten years, have
engaged in an ongoing pattern of meaningless, perfunctory, sham review
hearings wherein they admit that there is no valid reason for plaintiff
Striz to remain in ad-seg, then knowingly and willfully use a false excuse
to remain plaintiff in ad-seg indefinitely. All defendants have partici-
pated in these reviews and acted under color of law ‘to deny plaintiff's
rights to meaningful Due Process, Equal Protection, and -by extreme
duration of solitary confinement-— subjected him to Cruel and Unusual

Punishments which serve no penological interest.

Prisoner Status
Plaintiff is a convicted and sentenced state prisoner in the custody of Texas

Department of Criminal Justice- Correctional Institutions Division.

Statement of Claim
"State as briefly as possible the facts of your case..."
Plaintiff, Aaron Striz, has been confined to administrative segregation

continuously and indefinitely for nearly 17 years.

ps JH o£ 14
 

Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 8 of 19

In August 2001, while at the French M. Robertson Unit in Abilene, Texas, Striz
was identified and "confirmed" as a member of a Security Threat Group (STG),
removed from the general population, and placed in Administrative Segregation,
a form of long term solitary confinement. At this time he was informed by TDCJ
Officials that in order to be released from Ad-Seg and return to general popu- 2
lation, he must disassociate from gang activity, renounce membership, and complete
the Gang Renouncement And Disassociation (GRAD) Program.

Striz repeatedly requested to participate in the GRAD program but was denied
each time because he IS NOT ELIGIBLE for this program due to the placement of
Security Precaution Designator (SPD) Codes on his prison file. These SPD Codes
are the result of an escape from the Grimes County Jail in August 1998 PRIOR
to eitering TDCJ. Six weeks after this escape from county jail, Striz was trans-
ferred to TDCJ whereupon his initial custodial classification assignment was to
Minimum custody. He remained in the general population without serious incident
until being identified as a gang memebr and placed in Ad-Seg in August 2001.

The TDCJ policy governing SPD Codes states thta the codes will remain in effect
for a minimum of ten years from the date of the incident before the codes may be
reviewed for possible removal. But, among the eligibility criteria for partici-
pation in the GRAD Program is a requirement that there are no active SPD Codes.
Therefore, Unit STG Officers refused to even begin Striz's debriefing/investi-
gation process until his SPD Codes were eligible for removal in July 2008. Thus
began a formal, intensive 2-year investigation process to verify his renouncement
and disassociation.

Upon completion of this 2-year investigation, in July 2010, the “Disassociation/
Attachment-B Form" was completed, officially verifying that he is no longer a
gang member .

But, since the SPD Codes were never "deactivated", he is still not eligible for
the GRAD Program. Although he is eligible to have these SPD Codes removed, TDCJ
Officials (named defendants) refuse to do so citing "extraordinary circumstances."
Even though the incidént occurred nearly 20 years ago, prior to entering TDCJ, and
upon entering TDCJ he was assigned to MINIMUM CUSTODY, and has engaged in no «=
serious: infractions since that time, officials "claim" that he is "an immediate
secuxity risk" even though he was never designated as such 20 years ago, immediately
after the incident occurred!

These SPD Code policies were created in 2001, in the wake of the Texas—7 escape,
after Striz was assigned to Ad-Seg as a result of gang affiliation. So he is not

being punished for anything he did, rather, he is being punished for something that
Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 9 of 19

someone else did 17 years ago on another unit, which he had no association with!
But now, these SPD Codes prevent him from being re-assigned to minimum custody which
is necessary to complete the third and final phase of the GRAD Program.

The result of these extraordinary and exigent circumstances is that, since July
2010, at every single periodic review hearing by the State Classification Committee,
Unit Classification Committee, and SPD Review Committee, ALL déféendarits have acknow-
ledged (and in some cases, in writing), that the "Attachment-B" Form is complete,
that he is no longer a gang memebr and done everything required of him, but due
to the SPD Codes he is not eligible for GRAD, and therefore he will remain in
Ad-Seg, indefinitely, until he completes the GRAD Program. (Plaintiff has filed
countless grievances regarding the issue, his friends and family have contacted
various officials, all responses reiterate this absurdist, circular reasoning.)

From the Period beginning in July 2010, when plaintiff was officially derter-
mined to no longer be a gang member, he was confined at the Robertson Unit where
defendants Betcher, Siringi, and various State Classification Representatives
{names and signatures on documents they signed are illegible, making them unidenti-
fiable by name pending discovery.) repeatedly made decisions at classification
hearings where they acknowledged these facts, then knowingly and intentionally used
this invalid excuse as a pretext for continued, indefinite confinement to Ad-Seq,
until he was transferred to Estelle High Security/Super Seg unit in October 2013.

Upon arrival at the Estelle Unit, this pattern of meaningless, farcical,
sham review hearings was continued by defendants Brewer, Carter, Lacox, Prestwood,
Rigsby, Vincent, Schurr, and State Classification Representatives Ray, Jones,
Gibson, and others whose names/sggnatures are illegible on countless review
hearing forms.

In September 2017, while still at the Estelle Unit, after another particularly
indifferent and perfunctory review hearing, Striz became so frustrated by his
Situation and the lack of meaningful attention to it that he undertook a hunger
strike beginning on Monday, September 18, to bring:attention to the matter.
Defendants Rigsby] Vifcent, and Schurr became confrontational, provocative,
and ‘shen retalliatory when plaintiff refused to engage their hostile provocations
and refused to end his hunger strike. Again, they acknowledged the problem,
but stated they weren't going to do anything to solve it.

After Six days of this hunger strike, when his medical condition grew dire,
he was escorted to medical on S@&urday, September 23, 2017, to speak with defendant
Prestwood via speakerphone, surrounded by witnesses. At this time, Prestwood
admitted that there was no reason for defendant to be in Ad-Seg, that it was

a problem, and made promises that he would contact acquaintances at State Classiticetim

P5 G of \4

 
 

Case 3:18-cv-00202 Document 1 Filed on 07/17/18 in TXSD Page 10 of 19

to correct the situation, first thing Monday morning. Based on these assurances
plaintift ended his hunger strike..

On the following Monday morning, September 25, 2017, at approximately 9:0Uam,
Striz was escorted to Prestwood's otfice where Prestwood composed an emailto
an unknown State Classification official, read it aloud to plaintiff, then sent
it. Plaintiff stréty spent weeks trying to follow up with Prestwood about this
issue without any result.

Additionally, while at Estelle High Security, Striz repeatedly proposed a
simple solution to the problem by requesting to complete the "Modified GRAD"
Program which is based at Estelle High Security and would have required no
adjustment to his custodial classification in order to complete because the
"Modified" program only consists of phases one and two; it omits phase three,
which is th ephase that renders Striz ineligible. Upon Completion of Phase-

2, participants are reclassified and released back into general population.
Defendants repeatedly denied this request by stating that it is “only tor seriously
disabled otfenders, or those with terminal illnesses." This can be proven to

be a lie, because multiple offenders with minor disabilities, such as visual
impairment in only one eye, have been allowed to complete the Modified Program.

After pressing this issue of Due Process and requesting to complete the modified
GRAD program at his next classification hearing on January 18, 2018, before
Defendants Lacox and Gibson, the request was denied. Plaintiff tiled grievances
requesting this and citing caselaw asserting his rights to meaningful due process,
and federai rulings requiring a continuing valid reason tor continued Ad-Seg
confinement. ‘The result is that he was transferred away fram the simple solution
to this issue (Modified GRAD), to the John C. Darrington Unit on March 28, 2018.

Upon arrival at the Darrington Unit, Plaintiff was taken before a Unit Classif-
ication Committee on March 29, 2018. ‘This committee was comprised of Major
Kurtis D. Pharr, a Unit Classification Casemanager (name unknown), and an unknown
third corrections officer. When they told plaintiff that he would be assigned
to Ad-Seg as a confirmed gang member, he explained his situation and that he
is no longer a gang memebr. befendant Pharr and the Unit Classification Official
then examined his file on the computer, stated that the "Attachment-B" Form
was complete and that plaintiff is no longer a gang member. At this point,
defendant Pharr stated, "I can tell you right now what they are doing to you
but you won't like it. They don't want you in population, but they can't justify
it with the SPD Codes, so they're using the STG tag to keep you in seg."

A tew weeks later, in mid-April (exact date unknown), Striz was summoned
to another Unit Classification hearing of defendants Pharr and Davis, and a

third unknown officer. ‘The purpose of this hearing was to review SPD Codes.

pq 10 of 14
 

Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 11 of 19

Once again, plaintiff Striz explained the conflicting, extraordinary circumstances
of his situation where the SPD Codes prevent him from completing GRAD, he explained
that the incident which resulted in these Codes occurred 20 years ago, at a county
jail, and six weeks later he was transferred to ‘tDCJ and assigned to minimum custody,
and since that time has had no serious incidents, theretore there is no reason
to remain the SPD Codes. At this point, both defendants Pharr and Davis agreed
tnat there was no reason not to deactivate the codes, but Pharr stated that he
would not be the one to make that recommendation.

As of this tiling, Plaintiff remains in Ad-Seg, solitary continement, with

no end in sight and no prospect of release.

1.) Defendants have collectively engaged in a pattern of behavior to violate.
plaintift's Fiéth: Amendment right to Due Process as evidenced by years of meaningless,
perfunctory, sham review hearings where they admit that there is no valid reason
tor continued Ad-Seq confinement, then knowingly and willfully use an invalid
excuse for further indefinite confinement under false pretexts. Defendants have
done this tor a period of 17.years, which any reasonable person would consider
“atypical and significant in degree or duration of confinement" as required by
Sandin v. Connor , 115 S.ct. 2293 (1995) in order to maintain a Due Process claim.
Furthermore, the extraordinary and exigent circumstances outlined above,
Meet the 5th Circuit requirements of "extraordinary circumstances” necessary to
proceed on a Due Process Claim as required by Hernandez v. Velasquez, 522 F.3d
556 ,.(5th Cir, 2008).

Additionally, the 5th circuit is concerned with a prisoner's initial custodial

 

classification assignment in determining whether or not a liberty interest exists
in remaining free of Ad-Seq. Wilkerson v. Stalder, 329 F.3d 431, 435 (5th Cir,

 

2003). Plaintiff Striz's initial classification was to Minimum custody and he

has ;ommitted no serious infractions since that time.

2.) Through 17 years of continuous and indefinite solitary confinement in admini-
strative segregation, much of that time for no valid reason, defendants have subjected
plaintiff Striz to cruel and wmusual punishments, in violation of the 8th Amendment,
with no justifiable penological purpose, by depriving him of th ebasic necessities

of life, such as, but not limited to, human contact, environmental and mental
stimulus, physical activity, education and rehabilitation opportunitites, work,
contact visits, and other deprivations that place him at undue risk of longterm

and permanent psychological harm.

While short to modertate terms of solitary confinement are=to be considered

P4 lL of 14

 
 

VI.

Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 12 of 19

"normal incidents of prison life," any reasonable person would consider 17 years
of solitary confinement with no end in sight to be extreme, especially with no
valid reason for sucn confinement. See Wilkerson v. Staider, 639 F.Supp. 2d 654

(M.D.iA, 2007), esp. at 676-661, acknowledging and discussing the detrimental

 

effects of long term enlitary confinement meetina the 8th Amendment criteria of

cruéi and unusual punishment due to "the evolving standards of decency."

3.) Defendants have collectively violated plaintiff's 14th Amendment right to
equal protection by intentionally treating him differently than others similarly
situated with no rational basis for the difference in treatment. Numerous other
inmates in a similar position have been allowed to complete GRAD or released from
Ad-Seg. Inmates Riley Ray Fultz,:Allen!Campbell, and Isaac Salazar all had SPD
Codes for previous escapes and were in Ad-Seg as confirmed gang members. Upon
completion of their "Attachment-B" forms their SPD codes were deactivated and
they were allowed to complete the GRAD Program. Alternatively. inmate Taylor
Ray . upon completion of an investigation was returned to general population
WITHOUT completing GRAD, his SPD Codes remained active, and he. was redlassified
to medium custodv status in accordance with those SPD codes for escape and staff
assault.

There is no iustification for this disoarate treatment of similarly situated
individuals. And in fact, when a solution was readily available at Estelle High
Security (Modified GRAD), and plaintiff requested it, defendants chose to give
false excuses to deny this option, then transferred him away from that easy solution
which required no change of custodial status! Defendants, for years, have displayed
a callous disregard for plaintiff's constitutional rights, and numerous federal

court rulings protecting the rights of prisoners.

injuries

N/A - no physical imjuries were sustained.

Relief

Plaintiff respectfully prays that this court enter judgement granting plaintiff;

1.) A declaration that the acts described herein violate plaintiff's rights under

the Constitution and laws of the United States;

2.) A preliminary and peemanent injunction ordering defendants to either immediatelv
release plaintiff from Ad-Seg. or allow him to immediately complete the GRAD

program by transferring him to the program:

Co

p45 1A of (4

 
Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 13 of 19

3.) Punitive Damages in the amount of 1275.00 PER DAV of wronofiul confinement

to administrative searegation, to be calculated from the date plaintiff's "Attachment—
B" Form was complete, therefore rendering no valid reason to keep him in seg.
Fhe purpose of these requested punitive damages is to det an example and deter

future behavior in callous disregard for constitutional rights and clearly established
caselaw that not only should all defendants be aware of. but all defendants inten-

tionally ignored when made aware of these rulings.
4.) A jury trial on all issues triable by jury.

5.) Plaintiff's costs in this suit.

6.) Any additional relief this court deems just, proper, and equitable.

 
 

Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 14 of 19

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

Vil. Exhaustion of Administrative Remedies Administrative Procedures

The Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a), requires that “[nJo action shall be brought
with respect to prison conditions under section 1983 of this title, or any other Federal law, by a prisoner confined
in any jail, prison, or other correctional facility until such administrative remedies as are available are
exhausted.”

Administrative remedies are also known as grievance procedures. Your case may be dismissed if you have not
exhausted your administrative remedies.

A. Did your claim(s) arise while you were confined in a jail, prison, or other correctional facility?

x Yes

If yes, name the jail, prison, or other correctional facility where you were confined at the time of the
events giving rise to your claim(s).

1. French Robertson Unit (TNCJ), 12071 FM 3522. Abilene, TX 79601

2. Estelle High Security (TDCJ) 264 FM 3478, Huntsville, TX 77320

3. Darrington Unit (TNCT) 59 Darrington Rd., Rosharon, TX 77583

B. Does the jail, prison, or other correctional facility where your claim(s) arose have a grievance
procedure?

»® Yes
Oh No
O Do not know
C, Does the grievance procedure at the jail, prison, or other correctional facility where your claim(s) arose
cover some or all of your claims?
O Yes
wg No
Do not know

If yes, which claim(s)?

Page omer
1H of 14

 
Case 3:18-cv-00202 Document 1 Filed on 07/17/18 in TXSD Page 15 of 19

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

D. Did you file a grievance in the jail, prison, or other correctional facility where your claim(s) arose
concerning the facts relating to this complaint?

we Yes

If no, did you file a grievance about the events described in this complaint at any other jail, prison, or
other correctional facility?

O Yes

O No

E. If you did file a grievance:

1. Where did you file the grievance?
Numerous grievances multiple times every yearsince 2010, at all three above named

facilities, after every periodic review hearing

2. What did you claim in your grievance?

That my rights to due process were being violated, citing federal caselaw, asking
why I am still in ad-seg when officials admit there is no valid reason for it,
and requestingito be either released from seg or allowed to complete the GRAN program

or a "modified" version of it.

3. What was the result, if any?

No action taken to correct the sitnation. remain in segregation,

4. What steps, if any, did you take to appeal that decision? Is the grievance process completed? If
not, explain why not. (Describe all efforts to appeal to the highest level of the grievance process.)
I have appealed nearly every decision for ten years on both the step one and step
two level. I wrote letters to numerous officials. Family and friends have contacted
officials who reiterate that there is no valid reason for me to be in seg, but
then restate the admitted invalid reason. (I have copies of everything) I even

undertook a six dav hunger strike to bring attention to the problem, which the warden

admitted was a problem, promised to resolve, and nothing happenned to fix it.

Page Seley
1S of 14

 
NS OS BE EE at 0 hE EUS

Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 16 of 19

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

F. If you did not file a grievance:

1. If there are any reasons why you did not file a grievance, state them here:

2. If you did not file a grievance but you did inform officials of your claim, state who you informed,
when and how, and their response, if any:

G. Please set forth any additional information that is relevant to the exhaustion of your administrative
remedies.

Attached to this complaint aregthe most recent: grievances filed. Grievance number
2018081197, filed after most recent review hearing in January, along with Step-2 -<
denial. Upon transfer to Darrington Unit, 2 attempted to file another grievance

to exhaust remedies here, it was denied as redundant; attached, with IOC stating whv
(Note: You may attach as exhibits to this complaint any documents related to the exhaustion of your
administrative remedies.)

VIII. Previous Lawsuits

The “three strikes rule” bars a prisoner from bringing a civil action or an appeal in federal court without paying
the filing fee if that prisoner has “on three or more prior occasions, while incarcerated or detained in any facility,
brought an action or appeal in a court of the United States that was dismissed on the grounds that it is frivolous,
malicious, or fails to state a claim upon which relief may be granted, unless the prisoner is under imminent
danger of serious physical injury.” 28 U.S.C. § 1915(g).

To the best of your knowledge, have you had a case dismissed based on this “three strikes rule”?

O Yes
A No

If yes, state which court dismissed your case, when this occurred, and attach a copy of the order if possible.

Page Mager
“le of 19

 
Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 17 of 19

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

A. Have you filed other lawsuits in state or federal court dealing with the same facts involved in this
action?

O Yes
wa No

B. If your answer to A is yes, describe each lawsuit by answering questions | through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintiff(s)
Defendant(s)

2. Court (if federal court, name the district; if state court, name the county and State)
3. Docket or index number

4. Name of Judge assigned to your case

5. Approximate date of filing lawsuit

6. Is the case still pending?

fT Yes

O No

 

If no, give the approximate date of disposition.

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in.-your favor? Was the case appealed?)

C. Have you filed other lawsuits in state or federal court otherwise relating to the conditions of your
imprisonment?

age Bol
vy of 14
Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 18 of 19

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

JO Yes 9- NoT Sv@e IF iT WAS “Convitions oF COMEINEMGT.” “T+ WAS A&
No * spelivenate Tadthtrence” claim attr Ue QD aml Twas Habeed,
whin ofGeals plaid nl oh AWMG with akaown mbm Oba Sang a)
hae previously AWA re (hth 7 why an yond a gang...andgot G5
D. If your answer to C is yes, describe each lawsuit by answering questions | through 7 below. (If there is
more than one lawsuit, describe the additional lawsuits on another page, using the same format.)

1. Parties to the previous lawsuit
Plaintittts) — Laseat SH
Defendant(s) 7 Dent romtmyer, Sencene ese Gamat) Lule Lorme ond ddjgt
keep vp witht, Dismissed wr Wout prevdrcé

2. Court (if federal court, name the district; if state court, name the county and State)

don't kyow, den remtubtr 7+ ts rn k00( ond no leng cr
have he relerds.

3. Docket or index number

Dent knovo

4. Name of Judge assigned to your case

2 Dent krow

5. Approximate date of filing lawsuit
mia [+e laré 200i)
6. Is the case still pending?
1 Yes
No

If no, give the approximate date of disposition deme knocod

7. What was the result of the case? (For example: Was the case dismissed? Was judgment entered
in your favor? Was the case appealed?)

is mse witkert prude fer falvre to Bhaest
gana sate rentals PEAdn+ Kelp up withit

Page Bagicaee
1B of 14

 
Case 3:18-cv-00202 Document1 Filed on 07/17/18 in TXSD Page 19 of 19

~

Pro Se 14 (Rev. 12/16) Complaint for Violation of Civil Rights (Prisoner)

IX.

Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the

requirements of Rule 11.

A. For Parties Without an Attorney

I agree to provide the Clerk’s Office with any changes to my address where case—related papers may be
served. [ understand that my failure to keep a current address on file with the Clerk’s Office may result

in the dismissal of my case.

Date of signing: june JG aaAg

Signature of Plaintiff — daren eae

Printed Name of Plaintiff
Prison Identification #

Prison Address

B. For Attorneys

Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Address

Telephone Number
E-mail Address

AARON Cave.

E38a\N
54 DarrRinGron

Rosi hRow
City

City

RD
TELAS

State

State

44963

Zip Code

Zip Code

 
